                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

         UNITED STATES OF AMERICA,
                   Plaintiff,
                                                          No. 3:22-cr-14
                 v.
                                                          Judges Varlan/McCook
         DAVID HENDERSON,
                   Defendant.

         RESPONSE IN OPPOSITION TO DEFENDANT’S MOTIONS TO DISMISS

         Defendant filed two motions to dismiss—one arguing failure to allege an offense and one

  arguing duplicity. [See Docs. 14, 16.] Because both motions are based on similar arguments,

  the United States responds jointly in one filing.

         Both motions should be denied because the indictment alleges specific facts sufficient to

  plead the single offense charged in the indictment—that is, conspiracy to commit federal

  program fraud, in violation of 18 U.S.C. § 371. In support of that charge, the indictment alleges

  that a conspiracy existed over a specific period; that defendant knowingly and willingly joined

  the conspiracy; and that a member of the conspiracy—specifically, the defendant—engaged in

  numerous overt acts in furtherance of the conspiracy. Those allegations are more than sufficient

  to satisfy the Sixth Circuit’s pleading requirements for a conspiracy offense. See United States

  v. Washington, 715 F.3d 975, 979-80 (6th Cir. 2013). Moreover, the indictment is clear that

  only one offense—conspiracy—is charged. Contrary to defendant’s arguments, Count One does

  not charge two separate offenses. Thus, no duplicity concerns exist.

         The Court should deny both of defendant’s motions to dismiss.




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                                 SUMMARY OF ALLEGATIONS

          The indictment’s allegations are specific and comprehensive. [See generally Doc. 3,

  Indictment.] The indictment charges defendant with one count of conspiracy to commit federal

  program fraud, in violation of 18 U.S.C. § 371. [Id. at 3 (Count One).]

          The indictment alleges, with specificity, that a conspiracy existed from in or around 2011

  to in or about September 2018; that defendant knowingly and willingly joined the conspiracy;

  that the purpose of the conspiracy was to steal federal program funds to unjustly enrich

  defendant and others; and that defendant committed more than fifty overt acts in furtherance of

  the conspiracy. [See generally Doc. 3, Indictment.] The overt acts are described in detail,

  including the specific dates of purchases, the specific item or items purchased, the method of

  payment, the exact price of the items purchased, the sellers, and the beneficiary of each purchase.

  [Id. at 7-18 (¶¶ 1-42).]

          First, the indictment alleges that the object of the conspiracy was for defendant to use his

  authority as Chief of the Knox County Sheriff’s Office (“KCSO”) Narcotics Unit to enrich

  himself and others by, among other things, directing his subordinates to use Knox County

  funds—money from the Narcotics Cash Fund (“Cash Fund”) and the Narcotics Credit Card

  (“Credit Card”)—to purchase items for his personal use or the personal use of his family

  members, associates, and friends, and for the former Knox County Sheriff. [Doc. 3, Indictment

  at 2 (¶¶ 9-11); id. at 4 (Object of the Conspiracy).] The indictment also alleges that defendant

  and others conspired to deprive Knox County of the right to its employees’ time and labor during

  official hours by directing certain subordinate officers to perform renovation, remodeling, and

  construction projects of a purely personal nature at various locations and for the personal benefit

  of various individuals, including defendant and the former Knox County Sheriff. [Id. at 3



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  (Object of Conspiracy).] The indictment alleges specific details about each project, including

  the date the project occurred, the duration of the project, the identity of the beneficiary, and any

  ancillary purchases that defendant directed with money from the Cash Fund or the Credit Card.

  [Id. at 11-12 (¶¶ 22-25) (Duck Blind); id. at 16-18 (¶¶ 34-42) (building privacy fence for the

  former Knox County Sheriff; installing a metal roof on a subordinate’s home; and building a

  screened-in porch at defendant’s residence).]

          Next, the indictment describes in detail how the conspiracy worked. [Doc. 3, Indictment

  at 4-7 (¶¶ 1-15).] The Manner and Means section of the indictment includes, among other

  things, allegations regarding the duration of the conspiracy (see id. ¶ 2); how defendant exercised

  his authority over subordinate officers (id. ¶ 3); how defendant caused receipts for purchases to

  be submitted to the Knox County Finance Department for approval (id. ¶ 6); and how defendant

  concealed the conspiracy by not personally using the Credit Card, but instead instructing

  subordinates to use the Credit Card to purchase items for his personal benefit or the personal

  benefit of his family members, associates, and friends, and for the former Knox County Sheriff.

  (Id. ¶ 7.)

          The indictment includes specific details about purchases made with Knox County funds.

  First, it alleges that defendant directed subordinates to use money from the Cash Fund—money

  that had been seized by the KCSO—to purchase items for defendant’s personal use or for the

  personal use of defendant’s family members, associates, and friends, and for the former Knox

  County Sheriff. [Doc. 3, Indictment at 7-11 (¶¶ 2-21) (listing twenty separate items).] Second,

  the indictment alleges that defendant instructed his subordinates to use the Credit Card, which

  was provided by Knox County and paid for with County funds, to purchase twenty-six Apple

  products for his personal use and for the personal use of others. [Id. at 13-15 (¶ 26) (listing



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  twenty-six Apple products purchased with the Credit Card at defendant’s direction, including the

  purchase date, the price paid, the make and model of the device, and a general description of who

  first registered the device).] In total, the indictment alleges with specificity that defendant

  directed subordinates to purchase more than fifty items with either money from the Cash Fund or

  the Credit Card. [See, e.g., Doc. 3, Indictment at 7-11 (¶¶ 2-21) (listing specific purchases

  dating back to January 30, 2012, and continuing to September 17, 2018); 13-15 (¶ 26) (Apple

  Products).]

         The indictment also includes specific allegations about the Duck Blind, a structure built

  by defendant’s subordinates—at defendant’s direction—while the subordinates were on official

  duty. [Doc. 3, Indictment at 11-13 (¶¶ 22-25).] The indictment alleges that defendant

  instructed his subordinates to use money from the Cash Fund or the Credit Card to purchase

  several items to finish, outfit, and accessorize the duck blind. [Id. ¶ 24(a)-(f).] The indictment

  describes each purchase in granular detail, providing the source of the funds for the purchase, the

  specific date of the purchase, where the item was purchased, and the exact price of the item—

  down to the cent. [See, e.g., id. ¶ 24(e) (alleging that defendant directed a subordinate to use

  money from the Cash Fund “to purchase a steel tube, chain swagging tool, and ferrule stop kit

  for the duck decoys. The subordinate did, in fact, use monies from the Narcotics Cash Fund to

  purchase these items at Lowe’s for $44.29.”]

         Finally, the indictment includes specific allegations surrounding defendant’s use of a

  Knox-County-owned facility to restore antique vehicles during the workday. [Doc. 3,

  Indictment at 15-16 (¶¶ 27-33).] The indictment alleges that defendant and “several of his

  subordinates—often at [defendant]’s request—worked on [defendant]’s cars during the workday

  and late into the evenings.” [Id. ¶ 29.] The indictment alleges, with specificity, the make and



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  model of each antique car defendant and others restored in the Knox-County-owned facility and

  the related items defendant instructed a subordinate to purchase with the Credit Card. [Id. at 15

  (¶ 29) (’68 Chevy Camaro, ’68 Chevy Chevelle, and ’72 Ford F-100); 15-16 (¶ 31) (automotive

  lift for $3,595 using a purchase order from the KCSO Finance Department); 16 (¶ 33) (paint

  guns for $643.21).] Like the other allegations in the overt-acts section, the allegations in this

  section include granular details about the purchases, including the source of funds, the items

  purchased, the date of the purchases, and the exact price of the items purchased. [Id. ¶¶ 31-33.]

                                          LEGAL STANDARD

          Sufficiency of allegations. An “indictment . . . must be a plain, concise and definite

  written statement of the essential facts constituting the offense charged.”       Fed. R. Crim. P.

  7(c)(1). An indictment is sufficient “if it, first, contains the elements of the offense charged and

  fairly informs a defendant of the charge against which he must defend and, second, enables him

  to plead an acquittal or conviction in bar of future prosecutions for the same offense.” Hamling

  v. United States, 418 U.S. 87, 117 (1974); United States v. Landham, 251 F.3d 1072, 1079 (6th

  Cir. 2001); United States v. Kuehne, 547 F.3d 667, 696 (6th Cir. 2008) (“An indictment is

  generally sufficient if it ‘fully, directly, and expressly . . . set[s] forth all the elements necessary

  to constitute the offense intended to be punished.’”) (quoting United States v. Douglas, 398 F.3d

  407, 411 (6th Cir. 2005)) (alteration in original). The statutory language must “be accompanied

  with such a statement of the facts and circumstances as will inform the accused of the specific

  offence, coming under the general description, with which he is charged.” Hamling, 418 U.S. at

  117-18 (quoting United States v. Hess, 124 U.S. 483, 487 (1888)); see also Douglas, 398 F.3d at

  413 (stating that an indictment must “set out all of the elements of the charge[d] offense and

  must give notice to the defendant of the charges he faces” and “be sufficiently specific to enable



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  the defendant to plead double jeopardy in a subsequent proceeding, if charged with the same

  crime based on the same facts”). If the indictment “states the specific time frame in which the

  acts occurred, [that is sufficient to] satisfy any double jeopardy concerns.” United States v.

  Paulino, 935 F.2d 379, 750 (6th Cir. 1991).

          Duplicity. Separate offenses must be charged in separates counts of an indictment.

  Fed. R. of Crim. P. 8(a). “An indictment is duplicitous if it sets forth separate and distinct

  crimes in one count.” United States v. Davis, 306 F.3d 398, 415 (6th Cir. 2002); see also United

  States v. Williams, 998 F.3d 716, 734 (6th Cir. 2021) (“Duplicitous indictments do not allow ‘the

  jury to convict on one offense and acquit on another,’ which is why they implicate the Sixth

  Amendment guarantee of jury unanimity.”) (quoting United States v. Washington, 127 F.3d 510,

  513 (6th Cir. 1997). “The vice of duplicity is that a jury may find a defendant guilty on the

  count without having reached a unanimous verdict on the commission of any particular offense.”

  United States v. Campbell, 279 F.3d 392, 398 (6th Cir. 2002) (internal quotation marks and

  citation omitted). “While a duplicative indictment can prejudice a defendant in various ways,

  the primary concern is that a defendant may be deprived of his right to a unanimous jury

  verdict.” United States v. Kakos, 483 F.3d 441, 443 (6th Cir. 2007). But an indictment

  alleging one conspiracy to commit several crimes is not duplicitous. See, e.g., Braverman v.

  United States, 317 U.S. 49, 54 (1942) (“The conspiracy is the crime, and that is one, however

  diverse its objects. A conspiracy is not the commission of the crime which it contemplates, and

  neither violates nor arises under the statute whose violation is its object . . . . The single

  agreement is the prohibited conspiracy, and however diverse its objects it violates but a single

  statute.”); Campbell, 279 F.3d at 398 (“[A]n agreement to commit several crimes is not

  duplicitous, as conspiracy is itself the crime”) (quoting United States v. Dale, 178 F.3d 429, 431-



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  32 (6th Cir. 1999)). In any event, even if an indictment contains a duplicitous count (which is

  not the case here), any duplicity issues may be “cured” “with unanimity instructions to the jury.”

  Williams, 998 F.3d at 735; see also United States v. Hendrickson, 822 F.3d 812, 822 (6th Cir.

  2016) (“Specific unanimity instructions are a method of curing ‘duplicitous’ charges . . . .”).

                                            ARGUMENT

         A.      The Indictment adequately pleads a conspiracy to commit federal program
                 fraud, in violation of 18 U.S.C. § 371.

          The indictment charges defendant with one count of conspiracy to commit federal

  program fraud, in violation of 18 U.S.C. § 371. [Doc. 3, Indictment at 3 (Count One).] Below

  is a screenshot of the operative language of the indictment, which states the existence of the

  conspiracy, the duration of the conspiracy, the underlying offense that the conspiracy was

  intended to violate, and that defendant knowingly and willingly joined the conspiracy:




  [Doc. 3, Indictment at 3.] The indictment also includes no less than fifty overt acts that

  defendant took in furtherance of the conspiracy. [Id. at 7-18 (¶¶ 1-42).]

         The indictment pleads each of the three elements required to state a conspiracy offense:

  (i) defendant knowingly and willingly joined the conspiracy; (ii) the purpose of which was to

  steal federal program funds, in violation of 18 U.S.C. § 666(a)(1)(A); and (iii) a member of the


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  conspiracy took an overt act in furtherance of the conspiracy. See United States v. Washington,

  715 F.3d 975, 979-80 (6th Cir. 2013). 1

         Contrary to defendant’s argument, the indictment does not charge defendant with a

  substantive violation of federal program fraud, in violation of 18 U.S.C. § 666(a)(1)(A). [Doc.

  15, Mem. at 1, 3.] Thus, the United States is not required to allege (or prove) the $5,000 annual

  threshold that is an element of federal program fraud, in violation of 18 U.S.C. § 666(a)(1)(A).

  Washington, 715 F.3d at 979-80. Indeed, the Sixth Circuit has unequivocally held that the

  United States is not required to allege (or prove) the elements of fraud when a defendant is

  charged only with conspiracy. For example, in Washington, the Sixth Circuit correctly held that

  where, as here, the United States charged a Section 371 conspiracy, the purpose of which was to

  violate Section 666(a)(1)(A), “the government merely had to prove beyond a reasonable doubt

  that Washington knowingly and voluntarily joined a conspiracy that intended to fraudulently

  obtain money and a member of the conspiracy took at least one overt act in furtherance of the

  conspiracy.” Id. at 979-80 (citing 18 U.S.C. § 371). Likewise, in United States v. Phillips, 872

  F.3d 803, 806 (6th Cir. 2017), the Sixth Circuit rightly held that, “[t]he government need not

  prove the elements of fraud to convict [the defendant] of conspiracy. ‘It is elementary that a

  conspiracy may exist and be punished whether or not the substantive crime ensues.’”) (emphasis

  in original) (quoting Salinas v. United States, 522 U.S. 52, 65 (1997)).

         Defendant’s reliance on United States v. Valentine, 63 F.3d 459, 461-62 (6th Cir. 1995),

  is therefore misplaced. There, the defendant was charged with the substantive offense of federal


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    See also Sixth Circuit Pattern Jury Instructions, Section 3.01A (stating the following three
  elements to prove a conspiracy to commit an offense against the United States: (i) two or more
  persons conspired or agreed to commit the stated offense; (ii) defendant knowingly and
  voluntarily joined the conspiracy; and (iii) a member of the conspiracy did one of the overt acts
  described in the indictment for the purpose of advancing of helping the conspiracy).

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  program fraud, in violation of 18 U.S.C. § 666(a)(1)(A). Valentine, 63 F.3d at 461. But the

  defendant was not charged with conspiracy to commit federal program fraud. Id. Unlike in

  Valentine, however, the indictment in this case charges only a conspiracy. [Doc. 3, Indictment

  at 3 (Count One).] Thus, the elements the United States must allege to adequately plead the

  conspiracy charged in the indictment are different from the elements required to prove federal

  program fraud. Washington, 715 F.3d at 979-80.

         As explained in detail in the Summary of Allegations section above, the indictment

  alleges specific facts that, if proved at trial, meet each element of the charged conspiracy. Thus,

  defendant’s claim that “the government has not given adequate notice to [him] as to the charges

  he must defend against” is unfounded and should be rejected. [Doc. 15, Mem. at 5.] Likewise,

  the Court should reject defendant’s argument that the United States was required to allege “dates

  that would establish a one-year period in which $5,000 or more worth of property was stolen or

  otherwise taken without authority.” [Doc. 15, Mem. at 5.] As explained above, the $5,000

  annual threshold is not an element of the charged offense. Thus, this Court should deny

  defendant’s motion to dismiss for failure to state an offense.

         B.      The indictment alleges one—and only one—offense.

         An indictment that alleges one conspiracy is not duplicitous. Braverman, 317 U.S. at 54

  (1942) (“The conspiracy is the crime, and that is one, however diverse its objects. . . . The single

  agreement is the prohibited conspiracy, and however diverse its objects it violates but a single

  statute.”) Here, the indictment alleges one, and only one, conspiracy. [Doc. 3, Indictment at

  3.] Defendant’s arguments to the contrary should be rejected.

         As explained above, the indictment alleges one conspiracy over an eight-year period.

  [See generally Doc. 3, Indictment.] The indictment’s allegations are specific and detailed.



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  [Id.] Given the specificity of the allegations, there is no risk that defendant would be exposed to

  double jeopardy if a jury convicts him.

         Defendant’s duplicity argument is grounded in the mistaken belief that the indictment

  also charges him with federal program fraud, in violation of 18 U.S.C. § 666(a)(1)(A). [Doc.

  17, Mem. at 1 (“The Indictment fails to allege that property valued at $5,000 or more was stolen

  or otherwise misappropriated in any one year period.”).] Based on his mistaken belief, he

  concludes that “the Indictment alleges multiple conspiracies in one count.” [Id. at 2.] Not so.

         Defendant is correct that “the Indictment alleges multiple incidents of theft over a 93-

  month period.” [Doc. 17, Mem. at 4.] But those incidents are merely overt acts in furtherance

  of the single conspiracy charged in the indictment. [Doc. 3, Indictment at 7-18 (¶¶ 1-42).]

  Nothing in the indictment’s language or allegations indicates that it charges multiple

  conspiracies. Indeed, the indictment is clear that the single conspiracy charged in the

  indictment—a conspiracy in violation of 18 U.S.C. § 371—began in or around 2011 and

  continued uninterrupted until in or about September 2018. [Doc. 3, Indictment at 3.] The

  indictment also lists with specificity the object of the conspiracy, the manner and means of the

  conspiracy, and the overt acts that defendant committed in furtherance of the conspiracy. [Id. at

  3-4 (Object), 4-7 (Manner and Means), 7-21 (Overt Acts).] The detailed and specific allegations

  make clear that defendant is charged with just one conspiracy.

         The fact that the indictment charges only one conspiracy eliminates any possibility “that

  the jury may not reach a unanimous verdict on count one of the Indictment.” [Doc. 17, Mem. at

  4.] And defendant’s claim that the indictment “does not sufficiently advise [him] of the charges

  against him, and exposes him to the risk of double jeopardy” is unfounded. [Id.] Thus, this

  Court should deny defendant’s motion to dismiss.



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                                        CONCLUSION

        For the foregoing reasons, defendant’s motions to dismiss should be denied.

                                                           Respectfully submitted,

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